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Wanda Heard Broner
1246 P'lxley Drive
Riv41rdaJe, Georgia 302'6

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
AT ATLANTA. GEORGIA DNISION

                                  RECEIVED IN CLERK'S OFFICE
WAN:PA HEARD BRONER.                       U.S.D.C. Atlanta                  Case No.

Plaintiff.                               AUG 20 2018                          1 18-CV-3947
                                     JA.~ ~·HATTEN, Clerk
v.                                   By. 'f(JEVf"1eputy Clerk

CITY OF FOREST PARK. GEORGIA;
OFFICER                 WOODARD. in her
official capacity with the City of Forest Park Police Departmenj;
SUPERVISING OFFICER YALANDA L. GREENE. in
her official capacity with the City of Forest Park Police Department;

Defendants.




       COMPLAINT li'OR NEGLIGENCE, RICO VIOLATIONS PURSUANT TO
1811.i.C. §1962(b), (c) il\ld (d) AND VIOLATIONS OF CIVIL RIGHI'S PURSUANT
                 TO 42 U~S.C. §1983 AND INJUNCTIVE RELIEF




                                  JURY TRIAL DEMANPED


                                      CQMPLAINT

COMES NOW. WANDA HEARD BRONER ("Plaintiff' or "Ms. Broner..). an individual who

is a residence of Riverdale. Georgia. and appearing pro-se. alleges as follows:
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                                        INTRODUCTION

         1.      Ibis action arises due to Negligence, RICO Violations and Civil Rights Violations

and seeking Injunctive J.\elief as to actions that have taken place by the Defendants as set forth

below:

                                          THEPARTIBS

         2.       This action is brought by Plaintiff, WANDA HEARD BRONER ("Plaintiff" or

"Ms. Broner'').

         3.       Plaintiff is a resident of Riverdale, Georgia.

         4.       All Defendants are residents or entities located in Georgia and are collectively the

"RICO Defendants" or the "Defendants".

         5.       Defendant, CITY OF FOREST PARK, GEORGIA is a municipality located in the

state of Georgia.

         6.       Defendant,_ OFFICER _ _ _ WOODARD("Officer Woodard") is an officer

with the Forest Park, Georgia Police Department.

         7.       Defendant, SUPERVISING OFFICER YALANDA L. GREENE ("Officer

Green@'')is_an officer with tb.e.Eorest.Eatl4 Georgia Police.Department.




                                        STATEMENT OF FACTS

1.       Plaintiff is a Black, African-American woman who resides in Riverdale, Georgia and has

resided there since July 2010.

2.       On or about July 12, 2015, Officer Woodard initiated a traffic stop without about probable

cause and in proceeded to engage in a search and seizure without any probable qmse.
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3.




                               JURISDICTION AND VENUE

4.      This Court has original jurisdiction over the claims asserted in this action pursuant to 28

U.S.C. §1332(a)(l) as the Plaintiff and Defendants are citizens of different states. The amol)Ilt in

controversy, exclusive of interest and costs, exceeds the jurisdictional amount set forth in 28 U .S.C.

§13;34(a).

5.      The Court has original jurisdiction over the claims asserted in this action pursuant 1P 28

U.S.C. §1331, 28 U.S.C. §1343, 28 U.S.C. §1658and18 U.S.C. §1964 (b), (c) and (d).

6.       Venue is proper in the Northern District of Georgia pursuant to 28 U .S.C. §1391(a)(2) as a

substantial part of the events that give rise to Plaintiff's claims asserted in this action occurred in

this judicial district

                                             COUNT I

                                       (As to RICO Defendants)

                         VIOLATION OF RICO, 18 U.S.C. §1962(b) and (c)

7.      The Plaintiff re-alleges and incorporates by referenced the allegations          in the above

paragraphs, as if fully set forth herein.

8.      At all relevant times, the RICO Defendants are a person within the meaning of 18 U.S.C.

§§1961(3) and 1962 (b) and (c).
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9.     The RICO Defendants and their co-conspirators are a group of persons associated together

in fact for the common purpose of canying out an ongoing criminal enterprise, as described in the

foregoing paragraphs of the Complaint

10.    The RICO Defendants and their co-conspirators constitute an enterprise within the meaning

of 18 U.S.C. §1962(c) and at all times relevant, said enterprise was engaged in, and its activities

affected interstate and foreign commerce within the meaning of 18 U.S.C. §1962(c).

11.    The RICO Defendants conducted or participated, directly or indirectly, in the conduct,

manqg_ement, or operation of the enterprise's affairs through a "pattern of racketeering activity"

within the meaning of and in violation of 18 U.S.C. §1961(5) and in violation of 18 U,S.C.

§1962(c).

12.    The RICO Defendants through a "pattern of racketeering activity'' engaged in the

collection of unlawful debt and acquired or maintained, directly or indirectly, an interest in or

control of an enterprise, the activities of which affected interstate or foreign commerce within the

meaning of and in violation of 18 U.S.C. §1961 (5) and 18 U.S.C. §1962(b).

13.    As a direct and proximate result of Defendants' actions, Plaintiff has suffered damages in

an amount to be proven at trial.

14.    Pursuant to 18 U.S.C. §1964(c), Plaintiff is entitled to recover treble damages plus costs

and attorneys' fees from the RICO Defendants.

15.    Plaintiff is further entitled to, and should be awarded, a preliminary and permanent

injunction that enjoins Defendants, their assignees and anyone else acting in concert with them

from continuing their course of conduct
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                                             COUNTil

                                       (As to RICO Defendants)

                           VIOLATION OF RICO, 18 U.S.C. §1962(d)

16.     The Plaintiff re-alleges and incorporates by referenced the allegations     in the above

paragraphs, as if fully set forth herein.

17.     The RICO Defendants have unlawfully, knowingly and willfully combined, conspired,

confederated and agreed together and with others to violate 18 U.S.C. §1962(b) and (C) as

described above, in violation of 18 U.S.C. §1962(d).

18.     Upon infonnation and belief, the RICO Defendants knew that they were engaged in a

conspiracy to commit the predicate acts, and they knew that the predicate acts were part of such

racketeering activity, and the participation and agreement of each of them was necessary to allow

the commission of this pattern of racketeering activity. This conduct constitutes a conspiracy to

violate 18 U.S.C. §1962(b) and (c), in violation of 18 U.S.C. §1962(d).

19.     As a direct and proximate result of Defendants' actions, Plaintiff has suffered damages in

an amount to be proven at trial.

20.     Pursuant to 18 U.S.C. §1964(c), Plaintiff is entitled to recover treble damages plus costs

and attorneys' fees from the RICO Defendants.

21.     Plaintiff is further entitled to, and should be awarded, a preliminary and permanent

injunction that enjoins Defendants, their assignees and anyone else acting in concert with them

from continuing their course of conduct.
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                                                     COUNTW

                     (As to Defendant. Officer Woodard and Offker Greene)

                                               NEGLIGENCE

22.     The Plaintiff re--alleges and incorporates by reference the allegations in the above

paragraphs, as if fully set forth herein.

23.     Officer Woodard and Officer Greene owed Plaintiff a duty of care to carry out their

responsibilities by exercising the degree of care, skill and diligence that ordinarily prudent personp

in like positions would use under similar circumstances.

24.     Defendants, through their gross negligence, breached their duties of care and acted with

reckless disregard and continue to act with reckless disregard towards Plaintiff.

25.     As a direct and proximate result of Defendants' gross negligence, Plaintiff has suffered

damages in an amount to be proven at trial.

                                                     COUNT IV

                                             (As to all Defendants)

                       VIOLATION OF CIVIL RIGHI'S - 42 U.S.C. §1983

26.     The Plaintiff re-alleges and incorporates by reference the allegations in the .above

parag_raphs, as if fully set forth herein.

27.     The actions of Defendants were done under color of state law and are in violation of

Plaintiff's right to Due Process as guaranteed by the Fourteenth Amendment of the United States

Constitution and in violation of the implicit guarantee of the Fifth Amendment of the United States

Constitution that each person receive Equal Protection of the laws .




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                                               COUNTY

                                       INJUNCTIVE RELIBF

29.     The Plaintiff re-alleges and incorporates by reference the allegations in the above

paragraphs, as if fully set forth herein.

30.     Pursuant to Federal Rule of Civil Procedure 65, Plaintiff can seek injunctive relief.

31.     The Plaintiff is likely to succeed on the merits of its claims against the Defendan_ts for

{UCO Violations, Gross Negligence, Negligence and Civil Rights violations.

32.     To the extent that the balance of hardships is w~ighed in this matter, the Defendants will not

suffer substantial harm if the Plaintiff's request is granted.

33.     The balance of hardships weighs in Plaintiff's favor.

34.     Plaintiff will suffer irreparable and imminent harm if requested injunctive relief is not

granted.

35.     Plaintiff has no other adequate remedy at law.

3_6.    There is no adverse gublic interest that will result from the granting of injunctive relief in

this matter.

                                      REQUEST FOR RELIEF

        WHEREFORE, Plaintiff, demands a trial by jury and a Judgment in favor of the Plaintiff

as follows:

On the First and Second Counts for Relief:
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   1. For general damages according to proof at trial, trebled according to statute, 18 U.S.C.

        §1964(c);

   2. For prejudgment interest according to statute; and

   3.. Eor Plaintiff's reasonable attorneys' fees and costs according to statute, 18 U.S.C.

        §1964(c).

On the Third and Fourth Counts for Relief:

   4. An award of damages in an amount to be established at trial;

   5. An award of prejudgment interest on such damages;

   6. An award of attQflleys' fees, costs and other expenses recoverable in connection with this
      proceeding; and

   7. Such other and further relief as the Court may deem just, equitable or proper.
On the Fifth Count for Relief:

   6.   For equitable relief as appropriate pursuant to applicable law, including but not limited to

        issuing a temporary restraining order, a preliminary injunction and a permanent injun~OJl

        that bars Defendant, their assignees and anyone else acting in concert with them from

        continuing their course of conduct.

   9. An award of attorneys' fees, costs and other expenses recoverable in connection with this
      proceeding; and

   10. Such other and further relief as the Court may deem just, equitable or proper.


RESPECTFULLY SUBMITTED              thiJ 1~ay of August, 2018.

                       By:    tAJ/4&_ ~. ~
                       Plaintiff WANDA HEARD BRONER
